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 8                               IN THE UNITED STATES DISTRICT COURT

 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

10   STANLEY CRUMP,

11                  Plaintiff,                               No. CIV S-05-247 MCE KJM PS

12           vs.

13   SOCIAL SECURITY ADMINISTRATION,

14                  Defendant.                               ORDER

15                                          /

16                  This action was referred to the undersigned under Local Rule 72-302(c)(21).

17   Plaintiff, proceeding pro se, has requested that this action be dismissed. As provided by Fed. R.

18   Civ. P. 41(a), plaintiff's request shall be honored.1

19                  Plaintiff is advised that the United States District Court does not have a “Federal

20   Claims Department” and that mailing a claim to the United States District Court is insufficient

21   for purposes of presenting a claim under the Federal Tort Claims Act.

22   /////

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24           1
               Defendant filed a motion to dismiss, to which plaintiff failed to file timely opposition.
     Apparently in response to the court’s order directing plaintiff to file opposition, plaintiff now
25   concedes that the merits of defendant’s motion are well-taken in light of plaintiff’s apparent
     intent to pursue an administrative claim. The court will not address the merits of defendant’s
26   motion in light of plaintiff’s request to dismiss this action.

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 1                    Accordingly, IT IS HEREBY ORDERED that this action is dismissed.

 2   DATED: May 13, 2005.

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 4                                                 UNITED STATES MAGISTRATE JUDGE
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     crump.59
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